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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

FEAR OF GOD, LLC,
                                                          Case No. 21-cv-03894
                  Plaintiff,

                  v.

THE PARTNERSHIPS and
UNINCORPORATED ASSOCIATIONS
IDENTIFIED ON SCHEDULE “A,”
                  Defendants.


                                             COMPLAINT

          Plaintiff Fear of God, LLC (“Fear of God” or “Plaintiff”) hereby brings the present action

against the Partnerships and Unincorporated Associations identified on Schedule A attached hereto

(collectively, “Defendants”) and alleges as follows:

                                   I. JURISDICTION AND VENUE

          1.      This Court has original subject matter jurisdiction over the claims in this action

pursuant to the provisions of the Lanham Act, 15 U.S.C. § 1051, et seq., 28 U.S.C. § 1338(a)-(b)

and 28 U.S.C. § 1331.

          2.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391, and this Court may

properly exercise personal jurisdiction over Defendants since each of the Defendants directly

targets business activities toward consumers in the United States, including Illinois, through at

least the fully interactive e-commerce stores1 operating under the seller aliases identified in

Schedule A attached hereto (the “Seller Aliases”). Specifically, Defendants have targeted sales to

Illinois residents by setting up and operating e-commerce stores that target United States


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    The e-commerce store urls are listed on Schedule A hereto under the Online Marketplaces.
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consumers using one or more Seller Aliases, offer shipping to the United States, including Illinois,

accept payment in U.S. dollars and, on information and belief, have sold products using infringing

and counterfeit versions of Plaintiff’s federally registered trademarks to residents of Illinois. Each

of the Defendants is committing tortious acts in Illinois, is engaging in interstate commerce, and

has wrongfully caused Plaintiff substantial injury in the State of Illinois.

                                       II. INTRODUCTION

       3.      This action has been filed by Fear of God to combat e-commerce store operators

who trade upon Plaintiff’s reputation and goodwill by offering for sale and/or selling unauthorized

and unlicensed products, including apparel and accessories, using infringing and counterfeit

versions of Plaintiff’s federally registered trademarks (the “Counterfeit Fear of God Products”).

Defendants create e-commerce stores operating under one or more Seller Aliases that are

advertising, offering for sale and selling Counterfeit Fear of God Products to unknowing

consumers. E-commerce stores operating under the Seller Aliases share unique identifiers,

establishing a logical relationship between them in that Defendants’ counterfeiting operation arises

out of the same transaction, occurrence, or series of transactions or occurrences. Defendants

attempt to avoid and mitigate liability by operating under one or more Seller Aliases to conceal

both their identities and the full scope and interworking of their counterfeiting operation. Plaintiff

is forced to file this action to combat Defendants’ counterfeiting of its registered Fear of God

trademarks, as well as to protect unknowing consumers from purchasing Counterfeit Fear of God

Products over the Internet. Plaintiff has been and continues to be irreparably damaged through

consumer confusion, dilution, and tarnishment of its valuable trademarks as a result of Defendants’

actions and seeks injunctive and monetary relief.




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                                        III. THE PARTIES

Plaintiff

          4.    Fear of God, LLC is a corporation organized and existing under the laws of the

State of California, having its principal place of business at 3940 Laurel Canyon Blvd., No. 427,

Studio City, California 91604.

          5.    Fear of God is an apparel company that was started by Jerry Lorenzo in 2013,

specializing in the sale of high-end streetwear and accessories displaying the FEAR OF GOD

trademark. The Fear of God brand quickly developed a following among celebrities including

Kanye West, Rihanna, Kendall Jenner, and Travis Scott. The Fear of God brand is famous in the

United States and around the world for high quality products that seamlessly blend innovation with

style.

          6.    Fear of God’s clothing and accessories (the “Fear of God Products”) are inspired

by a luxe sensibility that appeal not only to its traditional customer base, but also to the consuming

public at large. Jerry Lorenzo, and the Fear of God brand, have a distinguished history within

streetwear and fashion that has been widely reported throughout the world. For example, GQ

chronicled the story of Jerry Lorenzo and Fear of God in an article entitled “How Fear of God is

Reinventing Luxury American Fashion,” and noted that “Jerry Lorenzo’s label made him a king

of streetwear, but his new collection is something different. Suddenly, his goal of being the next

Ralph Lauren is in sight.” Attached hereto as Exhibit 1 is a true and correct copy of the GQ article.

Similar articles about Jerry Lorenzo and Fear of God have been published by Harper’s Bazaar,

Vogue, Esquire and The New York Times.

          7.    Fear of God carefully plans and curates its design collections each season to provide

its customers with unique apparel and products.



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       8.       Fear of God has partnered with many prominent global brands in highly publicized

collaborations, including those with Adidas, Zegna, Nike, Converse, New Era, and Vans.

       9.       Fear of God Products are distributed and sold to consumers throughout the United

States, including in Illinois, through authorized retailers and the fearofgod.com website.

       10.      Plaintiff incorporates a variety of distinctive marks in the design of its various Fear

of God Products. As a result of its long-standing use, Plaintiff owns common law trademark rights

in its trademarks. Plaintiff has also registered its trademarks with the United States Patent and

Trademark Office. Fear of God Products typically include at least one of Plaintiff’s registered

trademarks. Plaintiff uses its trademarks in connection with the marketing of its Fear of God

Products, including the following marks which are collectively referred to as the “FEAR OF GOD

Trademarks.”

  Registration
                         Trademark                             Goods and Services
      No.
                                              For: coats; jackets; tops in class 025.
    5,097,345       FOG FEAR OF GOD
                                              For: hoodies; kilts; leggings; ponchos; shorts; sweat
    5,345,843       FOG FEAR OF GOD           pants; sweat shirts; t-shirts in class 025.

                                              For: clothing, namely, coats, hooded sweatshirts,
                                              jackets, jeans, pants, shirts, shorts, sports coats,
                                              sweaters, sweatpants, sweatshirts, tank tops, t-shirts,
    5,696,924          FEAR OF GOD
                                              track suits, trousers and vests; footwear, namely,
                                              sneakers; headwear, namely, caps in class 025.


       11.      The above U.S. registrations for the FEAR OF GOD Trademarks are valid,

subsisting, and in full force and effect. The FEAR OF GOD Trademarks have been used

exclusively and continuously by Plaintiff, some for many years, and have never been abandoned.

The registrations for the FEAR OF GOD Trademarks constitute prima facie evidence of their

validity and of Plaintiff’s exclusive right to use the FEAR OF GOD Trademarks pursuant to 15


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U.S.C. § 1057(b). Attached hereto as Exhibit 2 are true and correct copies of the United States

Registration Certificates for the FEAR OF GOD Trademarks included in the above table.

        12.     The FEAR OF GOD Trademarks are exclusive to Plaintiff and are displayed

extensively on Fear of God Products and in Plaintiff’s marketing and promotional materials. The

Fear of God brand is among the most popular streetwear lines in the world and has been extensively

promoted and advertised at great expense. In fact, Plaintiff has expended substantial time, money,

and other resources in advertising, promoting and marketing featuring the FEAR OF GOD

Trademarks. Fear of God Products have also been the subject of extensive unsolicited publicity

resulting from their stylish, high quality and innovative designs. Because of these and other

factors, the Fear of God name and the FEAR OF GOD Trademarks have become famous

throughout the United States and around the world.

        13.     The FEAR OF GOD Trademarks are distinctive when applied to the Fear of God

Products, signifying to the purchaser that the products come from Plaintiff and are manufactured

to Plaintiff’s quality standards. The FEAR OF GOD Trademarks have achieved tremendous fame

and recognition, which has only added to the inherent distinctiveness of the marks. As such, the

goodwill associated with the FEAR OF GOD Trademarks is of incalculable and inestimable value

to Plaintiff.

        14.     Plaintiff operates an e-commerce website where it promotes and sells genuine Fear

of God Products at fearofgod.com. Sales of Fear of God Products via the fearofgod.com website

represent a significant portion of Plaintiff’s business.   The fearofgod.com website features

proprietary content, images, and designs exclusive to Fear of God.

        15.     Plaintiff’s innovative marketing and product designs have enabled Fear of God to

achieve widespread recognition and have made the FEAR OF GOD Trademarks famous marks.



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The widespread fame, outstanding reputation, and significant goodwill associated with the Fear of

God brand have made the FEAR OF GOD Trademarks valuable assets of Plaintiff.

       16.     Plaintiff has expended substantial time, money, and other resources in developing,

advertising and otherwise promoting the FEAR OF GOD Trademarks. As a result, products

bearing the FEAR OF GOD Trademarks are widely recognized and exclusively associated by

consumers, the public, and the trade as being high-quality products sourced from Plaintiff.

Plaintiff is a multi-million-dollar operation, and Fear of God Products have become among the

most popular of their kind in the world.

The Defendants

       17.     Defendants are individuals and business entities of unknown makeup who own

and/or operate one or more of the e-commerce stores under at least the Seller Aliases identified on

Schedule A and/or other seller aliases not yet known to Plaintiff. On information and belief,

Defendants reside and/or operate in the People’s Republic of China or other foreign jurisdictions

with lax trademark enforcement systems, or redistribute products from the same or similar sources

in those locations. Defendants have the capacity to be sued pursuant to Federal Rule of Civil

Procedure 17(b).

       18.     On information and belief, Defendants, either individually or jointly, operate one

or more e-commerce stores under the Seller Aliases listed in Schedule A attached hereto. Tactics

used by Defendants to conceal their identities and the full scope of their operation make it virtually

impossible for Plaintiff to learn Defendants’ true identities and the exact interworking of their

counterfeit network.    If Defendants provide additional credible information regarding their

identities, Plaintiff will take appropriate steps to amend the Complaint.




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                       IV. DEFENDANTS’ UNLAWFUL CONDUCT

      19.     The success of the Fear of God brand has resulted in its significant counterfeiting.

Consequently, Plaintiff has a worldwide anti-counterfeiting program and regularly investigates

suspicious e-commerce stores identified in proactive Internet sweeps and reported by consumers.

In recent years, Plaintiff has identified numerous fully interactive e-commerce stores, including

those operating under the Seller Aliases, which were offering for sale and/or selling Counterfeit

Fear of God Products to consumers in this Judicial District and throughout the United States. E-

commerce sales, including through e-commerce stores like those of Defendants, have resulted in

a sharp increase in the shipment of unauthorized products into the United States. Exhibit 3,

Excerpts from Fiscal Year 2018 U.S. Customs and Border Protection (“CBP”) Intellectual

Property Seizure Statistics Report. Over 90% of all CBP intellectual property seizures were

smaller international mail and express shipments (as opposed to large shipping containers). Id.

Over 85% of CBP seizures originated from mainland China and Hong Kong. Id. Counterfeit and

pirated products account for billions in economic losses, resulting in tens of thousands of lost jobs

for legitimate businesses and broader economic losses, including lost tax revenue.

      20.     Third party service providers like those used by Defendants do not adequately

subject new sellers to verification and confirmation of their identities, allowing counterfeiters to

“routinely use false or inaccurate names and addresses when registering with these e-commerce

platforms.” Exhibit 4, Daniel C.K. Chow, Alibaba, Amazon, and Counterfeiting in the Age of

the Internet, 40 NW. J. INT’L L. & BUS. 157, 186 (2020); see also report on “Combating

Trafficking in Counterfeit and Pirated Goods” prepared by the U.S. Department of Homeland

Security’s Office of Strategy, Policy, and Plans (Jan. 24, 2020), attached as Exhibit 5 and finding

that on “at least some e-commerce platforms, little identifying information is necessary for a



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counterfeiter to begin selling” and recommending that “[s]ignificantly enhanced vetting of third-

party sellers” is necessary. Counterfeiters hedge against the risk of being caught and having their

websites taken down from an e-commerce platform by preemptively establishing multiple virtual

store-fronts. Exhibit 5 at p. 22. Since platforms generally do not require a seller on a third-party

marketplace to identify the underlying business entity, counterfeiters can have many different

profiles that can appear unrelated even though they are commonly owned and operated. Exhibit

5 at p. 39. Further, “E-commerce platforms create bureaucratic or technical hurdles in helping

brand owners to locate or identify sources of counterfeits and counterfeiters.” Exhibit 4 at 186–

187.

        21.   Defendants have targeted sales to Illinois residents by setting up and operating e-

commerce stores that target United States consumers using one or more Seller Aliases, offer

shipping to the United States, including Illinois, accept payment in U.S. dollars and, on

information and belief, have sold Counterfeit Fear of God Products to residents of Illinois.

        22.   Defendants concurrently employ and benefit from substantially similar advertising

and marketing strategies. For example, Defendants facilitate sales by designing the e-commerce

stores operating under the Seller Aliases so that they appear to unknowing consumers to be

authorized online retailers, outlet stores, or wholesalers. E-commerce stores operating under the

Seller Aliases look sophisticated and accept payment in U.S. dollars via credit cards, Alipay,

Amazon Pay, Western Union, and/or PayPal. E-commerce stores operating under the Seller

Aliases often include content and images that make it very difficult for consumers to distinguish

such stores from an authorized retailer. Plaintiff has not licensed or authorized Defendants to use

any of the FEAR OF GOD Trademarks, and none of the Defendants are authorized retailers of

genuine Fear of God Products.



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      23.     Many Defendants also deceive unknowing consumers by using the FEAR OF GOD

Trademarks without authorization within the content, text, and/or meta tags of their e-commerce

stores in order to attract various search engines crawling the Internet looking for websites relevant

to consumer searches for Fear of God Products. Other e-commerce stores operating under the

Seller Aliases omit using FEAR OF GOD Trademarks in the item title to evade enforcement

efforts, while using strategic item titles and descriptions that will trigger their listings when

consumers are searching for Fear of God Products.

      24.     On information and belief, Defendants have engaged in fraudulent conduct when

registering the Seller Aliases by providing false, misleading and/or incomplete information to e-

commerce platforms.       On information and belief, certain Defendants have anonymously

registered and maintained Seller Aliases to prevent discovery of their true identities and the scope

of their e-commerce operation.

      25.     On information and belief, Defendants regularly register or acquire new seller

aliases for the purpose of offering for sale and selling Counterfeit Fear of God Products. Such

seller alias registration patterns are one of many common tactics used by the Defendants to

conceal their identities and the full scope and interworking of their counterfeiting operation, and

to avoid being shut down.

      26.     Even though Defendants operate under multiple fictitious aliases, the e-commerce

stores operating under the Seller Aliases often share unique identifiers, such as templates with

common design elements that intentionally omit any contact information or other information for

identifying Defendants or other Seller Aliases they operate or use. E-commerce stores operating

under the Seller Aliases include other notable common features such as use of the same

registration patterns, accepted payment methods, check-out methods, keywords, illegitimate



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search engine optimization (SEO), advertising tactics, similarities in price and quantities, the

same incorrect grammar and misspellings, and/or the use of the same text and images.

Additionally, Counterfeit Fear of God Products for sale by the Seller Aliases bear similar

irregularities and indicia of being counterfeit to one another, suggesting that the Counterfeit Fear

of God Products were manufactured by and come from a common source and that Defendants are

interrelated.

       27.      On information and belief, Defendants are in constant communication with each

other and regularly participate in QQ.com chat rooms and through websites such as

sellerdefense.cn, kaidianyo.com and kuajingvs.com regarding tactics for operating multiple

accounts, evading detection, pending litigation, and potential new lawsuits.

       28.      Counterfeiters such as Defendants typically operate under multiple seller aliases

and payment accounts so that they can continue operation in spite of Plaintiff’s enforcement

efforts. On information and belief, Defendants maintain off-shore bank accounts and regularly

move funds from their financial accounts to off-shore bank accounts outside the jurisdiction of

this Court to avoid payment of any monetary judgment awarded to Plaintiff. Indeed, analysis of

financial account transaction logs from previous similar cases indicates that off-shore

counterfeiters regularly move funds from U.S.-based financial accounts to off-shore accounts

outside the jurisdiction of this Court.

       29.      On information and belief, Defendants are an interrelated group of counterfeiters

working in active concert to knowingly and willfully manufacture, import, distribute, offer for

sale, and sell Counterfeit Fear of God Products in the same transaction, occurrence, or series of

transactions or occurrences. Defendants, without any authorization or license from Plaintiff, have

jointly and severally, knowingly and willfully used and continue to use the FEAR OF GOD



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Trademarks in connection with the advertisement, distribution, offering for sale, and sale of

Counterfeit Fear of God Products into the United States and Illinois over the Internet.

       30.     Defendants’ unauthorized use of the FEAR OF GOD Trademarks in connection

with the advertising, distribution, offering for sale, and sale of Counterfeit Fear of God Products,

including the sale of Counterfeit Fear of God Products into the United States, including Illinois, is

likely to cause and has caused confusion, mistake, and deception by and among consumers and is

irreparably harming Plaintiff.

                            COUNT I
     TRADEMARK INFRINGEMENT AND COUNTERFEITING (15 U.S.C. § 1114)

       31.     Plaintiff hereby re-alleges and incorporates by reference the allegations set forth in

the preceding paragraphs.

       32.     This is a trademark infringement action against Defendants based on their

unauthorized use in commerce of counterfeit imitations of the federally registered FEAR OF GOD

Trademarks in connection with the sale, offering for sale, distribution, and/or advertising of

infringing goods. The FEAR OF GOD Trademarks are highly distinctive marks. Consumers have

come to expect the highest quality from Fear of God Products sold or marketed under the FEAR

OF GOD Trademarks.

       33.     Defendants have sold, offered to sell, marketed, distributed, and advertised, and are

still selling, offering to sell, marketing, distributing, and advertising products using counterfeit

reproductions of the FEAR OF GOD Trademarks without Plaintiff’s permission.

       34.     Plaintiff is the exclusive owner of the FEAR OF GOD Trademarks. Plaintiff’s

United States Registrations for the FEAR OF GOD Trademarks (Exhibit 2) are in full force and

effect. On information and belief, Defendants have knowledge of Plaintiff’s rights in the FEAR

OF GOD Trademarks, and are willfully infringing and intentionally using counterfeits of the

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FEAR OF GOD Trademarks. Defendants’ willful, intentional and unauthorized use of the FEAR

OF GOD Trademarks is likely to cause and is causing confusion, mistake, and deception as to the

origin and quality of the Counterfeit Fear of God Products among the general public.

       35.     Defendants’ activities constitute willful trademark infringement and counterfeiting

under Section 32 of the Lanham Act, 15 U.S.C. § 1114.

       36.     Plaintiff has no adequate remedy at law, and if Defendants’ actions are not enjoined,

Plaintiff will continue to suffer irreparable harm to its reputation and the goodwill of its well-

known FEAR OF GOD Trademarks.

       37.     The injuries and damages sustained by Plaintiff have been directly and proximately

caused by Defendants’ wrongful reproduction, use, advertisement, promotion, offering to sell, and

sale of Counterfeit Fear of God Products.

                                   COUNT II
                  FALSE DESIGNATION OF ORIGIN (15 U.S.C. § 1125(a))

       38.     Plaintiff hereby re-alleges and incorporates by reference the allegations set forth in

the preceding paragraphs.

       39.     Defendants’ promotion, marketing, offering for sale, and sale of Counterfeit Fear

of God Products has created and is creating a likelihood of confusion, mistake, and deception

among the general public as to the affiliation, connection, or association with Plaintiff or the origin,

sponsorship, or approval of Defendants’ Counterfeit Fear of God Products by Plaintiff. By using

the FEAR OF GOD Trademarks in connection with the sale of Counterfeit Fear of God Products,

Defendants create a false designation of origin and a misleading representation of fact as to the

origin and sponsorship of the Counterfeit Fear of God Products.




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       40.      Defendants’ false designation of origin and misrepresentation of fact as to the origin

and/or sponsorship of the Counterfeit Fear of God Products to the general public involves the use

of counterfeit marks and is a willful violation of Section 43 of the Lanham Act, 15 U.S.C. § 1125.

       41.      Plaintiff has no adequate remedy at law and, if Defendants’ actions are not enjoined,

Plaintiff will continue to suffer irreparable harm to its reputation and the goodwill of its Fear of

God brand.

                                     PRAYER FOR RELIEF

WHEREFORE, Plaintiff prays for judgment against Defendants as follows:

1) That Defendants, their affiliates, officers, agents, servants, employees, attorneys, confederates,

   and all persons acting for, with, by, through, under or in active concert with them be

   temporarily, preliminarily, and permanently enjoined and restrained from:

       a. using the FEAR OF GOD Trademarks or any reproductions, counterfeit copies or

             colorable imitations thereof in any manner in connection with the distribution,

             marketing, advertising, offering for sale, or sale of any product that is not a genuine

             Fear of God product or is not authorized by Plaintiff to be sold in connection with the

             FEAR OF GOD Trademarks;

       b. passing off, inducing, or enabling others to sell or pass off any product as a genuine

             Fear of God product or any other product produced by Plaintiff, that is not Plaintiff’s

             or not produced under the authorization, control, or supervision of Plaintiff and

             approved by Plaintiff for sale under the FEAR OF GOD Trademarks;

       c. committing any acts calculated to cause consumers to believe that Defendants’

             Counterfeit Fear of God Products are those sold under the authorization, control or




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           supervision of Plaintiff, or are sponsored by, approved by, or otherwise connected with

           Plaintiff;

       d. further infringing the FEAR OF GOD Trademarks and damaging Plaintiff’s goodwill;

           and

       e. manufacturing, shipping, delivering, holding for sale, transferring or otherwise moving,

           storing, distributing, returning, or otherwise disposing of, in any manner, products or

           inventory not manufactured by or for Plaintiff, nor authorized by Plaintiff to be sold or

           offered for sale, and which bear any of Plaintiff’s trademarks, including the FEAR OF

           GOD Trademarks, or any reproductions, counterfeit copies or colorable imitations

           thereof;

2) Entry of an Order that, upon Plaintiff’s request, those with notice of the injunction, including,

   without limitation, any online marketplace platforms such as eBay, AliExpress, Alibaba,

   Amazon, Wish.com and Dhgate (collectively, the “Third Party Providers”) shall disable and

   cease displaying any advertisements used by or associated with Defendants in connection with

   the sale of counterfeit and infringing goods using the FEAR OF GOD Trademarks;

3) That Defendants account for and pay to Plaintiff all profits realized by Defendants by reason

   of Defendants’ unlawful acts herein alleged, and that the amount of damages for infringement

   of the FEAR OF GOD Trademarks be increased by a sum not exceeding three times the amount

   thereof as provided by 15 U.S.C. § 1117;

4) In the alternative, that Plaintiff be awarded statutory damages for willful trademark

   counterfeiting pursuant to 15 U.S.C. § 1117(c)(2) of $2,000,000 for each and every use of the

   FEAR OF GOD Trademarks;

5) That Plaintiff be awarded its reasonable attorneys’ fees and costs; and



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6) Award any and all other relief that this Court deems just and proper.

Dated this 22nd day of July 2021.            Respectfully submitted,

                                             /s/ Justin R. Gaudio
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